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                                       EXHIBIT A

                     Statement of Fees and Expenses By Subject Matter




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                              COMPENSATION BY SUBJECT MATTER1
                              APRIL 1, 2016 THROUGH APRIL 30, 2016

                                                                               Total
    Matter                                                                                      Total Fees
                                      Matter Description                       Billed
    Number                                                                                      Requested
                                                                               Hours
       4           General Environmental Matters                               115.90           $52,215.00
       7           EPA NSR Litigation                                          233.00          $70,842.00
       8           EGU MACT                                                     20.00           $8,362.50
       9           Texas PM2.5 Interstate Transport Rule                       15.80            $4,920.00
      11           EPA Regional Haze Rulemaking                                311.00          $113,172.50
      17           Regional Haze Section 114 Request                            19.10           $6,550.50
      18           EPA Affirmative Defense Litigation                           3.90            $2,047.50
      19           EPA GHG Rules                                               37.70           $14,469.50
      21           Bankruptcy Application and Retention                         22.50           $5,706.00
      24           La Frontera Gas Contracts                                     7.50           $3,267.50
      25           SO2 NAAQS                                                    0.90             $472.50
Totals:                                                                        787.30          $282,025.50




1    The work performed and expenses incurred by Balch during the compensation period were entirely on behalf of
     Texas Competitive Electric Holdings Company, LLC and its debtor subsidiaries.




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                                   EXPENSE SUMMARY
                          APRIL 1, 2016 THROUGH APRIL 30, 2016


                                  Expense Category                                  Amount
Airfare                                                                            $1,135.39
In-house Copying – Color Copies or Prints                                           $263.00
In-house Copying - Standard Copies or Prints                                         $22.00
Deliveries                                                                          $124.47
Telephone Charges                                                                    $33.21
Transportation to/from airport                                                      $248.13
Transportation                                                                       $36.05
Travel Expenses – Lodging                                                          $3,338.88
Travel Meals                                                                        $369.89
Other Travel Expenses                                                               $156.33
Total Expenses Sought:                                                             $5,727.35




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